






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00032-CR






Ex parte Joey Rean






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 390TH JUDICIAL DISTRICT

NO. D-1-DC-08-302820, HONORABLE JULIE H. KOCUREK, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Joey Rean is confined while awaiting trial on charges that he sexually assaulted his
teenage daughter, T.R.  Bail was set at $250,000.  Rean filed an application for writ of habeas corpus
seeking a reduction in the bail amount.  Following an evidentiary hearing in which Rean's counsel
requested that bail be reduced to $50,000, the district court denied Rean's request.  In a single issue
on appeal, Rean asserts that the district court abused its discretion by failing to reduce the bail
amount.  We will affirm the district court's order.


STANDARD AND SCOPE OF REVIEW

		The setting of bail is committed to the sound discretion of the trial court, but
the&nbsp;exercise of that discretion is governed by the constitution and by statute.  See Tex. Code Crim.
Proc. Ann. art. 17.15 (West 2005).  In setting bail, a balance must be struck between the defendant's
presumption of innocence and the State's interest in assuring the defendant's appearance at trial. 
Ex&nbsp;parte Beard, 92 S.W.3d 566, 573 (Tex. App.--Austin 2002, pet. ref'd).  Both the federal and
state constitutions prohibit excessive bail.  See U.S. Const. amend. VIII; Tex. Const. art. I, § 13.  Bail
is excessive if it is "set in an amount greater than is reasonably necessary to satisfy the government's
legitimate interests."  Beard, 92 S.W.3d at 573.  In addition to the constitutional prohibition against
excessive bail, the Texas Legislature has imposed the following statutory requirements:


1.	The bail shall be sufficiently high to give reasonable assurance that the
undertaking will be complied with.


2. 	The power to require bail is not to be so used as to make it an instrument of
oppression.


3. 	The nature of the offense and the circumstances under which it was
committed are to be considered.


4. 	The ability to make bail is to be regarded, and proof may be taken upon this
point.


5. 	The future safety of a victim of the alleged offense and the community shall
be considered.



Tex. Code Crim. Proc. Ann. art. 17.15.

		In setting the amount of bail, the trial court may also give consideration to
such&nbsp;factors as:  (1) the accused's work record; (2) the accused's family and community ties; (3) the
accused's length of residency; (4) the accused's prior criminal record; (5) the accused's conformity
with previous bond conditions; (6) the existence of other outstanding bonds, if any; and
(7)&nbsp;aggravating circumstances alleged to have been involved in the charged offense.  See Maldonado
v. State, 999 S.W.2d 91, 93 (Tex. App.--Houston [14th Dist.] 1999, pet. ref'd) (citing Ex parte
Rubac, 611 S.W.2d 848, 849-50 (Tex. Crim. App. 1981)).

		We review the trial court's ruling on a request to reduce bail under an abuse-of-discretion standard.  See Rubac, 611 S.W.2d at 850; Clemons v. State, 220 S.W.3d 176, 178
(Tex.&nbsp;App.--Eastland 2007, no pet.) (per curiam).  To determine whether the trial court abused
its&nbsp;discretion, we must decide whether the trial court acted without reference to any guiding
rules&nbsp;or&nbsp;principles; in other words, whether the act was arbitrary or unreasonable.  Ex parte Hunt,
138&nbsp;S.W.3d 503, 505 (Tex. App.--Fort Worth 2004, pet. ref'd) (citing Montgomery v. State,
810&nbsp;S.W.2d 372, 380 (Tex. Crim. App. 1990)).  We will not disturb the trial court's ruling if it was
within the zone of reasonable disagreement.  Clemons, 220 S.W.3d at 178.

		In a habeas case, the writ applicant bears the burden of proving facts that would
entitle him to relief and ensuring that a sufficient record is presented to show error requiring reversal. 
See Ex parte Kimes, 872 S.W.2d 700, 703 (Tex. Crim. App. 1993).  The burden of proof is upon an
applicant who claims bail is excessive, see Rubac, 611 S.W.2d at 849; Milner v. State, 263 S.W.3d
146, 148 (Tex. App.--Houston [1st Dist.] 2006, no pet.), and we will not reduce the trial court's bail
amount unless the applicant has satisfied this burden.  See Gentry, 615 S.W.2d at 231 (reducing
bail&nbsp;amount after reviewing court was "completely satisfied that petitioner discharged her burden
of showing her entitlement" to bail reduction); Ex parte Welch, 729 S.W.2d 306, 310
(Tex.&nbsp;App.--Dallas 1987, no pet.) (refusing to reduce bail amount when reviewing court found, after
considering "all of the evidence and factors relevant to determining the amount of bond," that
"applicant has failed to satisfy his burden of showing that the trial court abused its discretion in
refusing to lower applicant's bond").  We proceed to review the evidence in this case in light of the
above considerations.



ANALYSIS

Statutory factors

	Sufficient bail to assure appearance but not oppress

		The first two statutory factors are interrelated.  The primary purpose of an appearance
bond is to secure the presence of the accused at trial on the offense charged.  Ex parte Rodriguez,
595 S.W.2d 549, 550 (Tex. Crim. App. 1980).  Thus, the amount of bail must be high enough to give
reasonable assurance that the accused will appear as required.  Ex parte Charlesworth, 600 S.W.2d
316, 317 (Tex. Crim. App. 1980).  However, while bail should be sufficiently high to give reasonable
assurance that the accused will appear, the power to require bail should not be used as an instrument
of oppression.  Ex parte Ivey, 594 S.W.2d 98, 99 (Tex. Crim. App. 1980).  This occurs when the
trial&nbsp;court sets bail at an amount "for the express purpose of forcing appellant to remain incarcerated"
pending trial or appeal.  See Ex parte Harris, 733 S.W.2d 712, 714 (Tex. App.--Austin 1987,
no&nbsp;pet.) (per curiam).

		In claiming that the amount of bail in this case was oppressively high, Rean cites to
several older cases involving different offenses in which the reviewing court reduced the bail amount
after finding that the trial court's bail amount was excessive.  See Ludwig v. State, 812 S.W.2d 323,
325 (Tex. Crim. App. 1991) (in murder case, reducing bail amount from $1,000,000 to $50,000);
Ex parte Ivey, 594 S.W.2d 98, 100 (Tex. Crim. App. 1980) (in aggravated robbery case, reducing
bail amount from $250,000 to $50,000); Ex parte Vasquez, 558 S.W.2d 477, 480 (Tex. Crim. App.
1977) (in capital murder case, reducing bail amount from $100,000 to $20,000); Ex parte Bufkin,
553 S.W.2d 116, 118 (Tex. Crim. App. 1977) (in case involving conspiracy to commit capital
murder, reducing bail amount from $150,000 to $15,000); Smithwick v. State, 880 S.W.2d
510,&nbsp;511&nbsp;(Tex. App.--San Antonio 1994, no pet.) (in case involving murder and injury to child,
reducing bail&nbsp;amount from $500,000 to $100,000); Ex parte McDonald, 852 S.W.2d 730, 735-36
(Tex.&nbsp;App.--San Antonio 1993, no pet.) (in capital murder case, reducing bail amount from
$1,000,000 to $75,000).  However, as this Court has observed, "'Case law is of relatively little value
in addressing the ultimate question of the appropriate amount of bail in a particular case' because
appellate decisions on bail matters are often brief and avoid extended discussions, and because
the&nbsp;'cases are so individualized that generalization from results reached in others is difficult.'" 
Beard, 92 S.W.3d at 571 (citing 41 George E. Dix &amp; Robert O. Dawson, Texas Practice:  Criminal
Practice and Procedure § 16.51 (2d ed. 2001)).  Finding significant factual differences between the
above cases and the case before us, we do not find the cited cases to be persuasive here. (1)

		Rean also points to the district court's oral pronouncement denying habeas relief
as&nbsp;evidence that the district court refused to reduce the bail amount in order to ensure that he
would&nbsp;remain incarcerated.  At the conclusion of the evidentiary hearing, the district court stated
the&nbsp;following:

Based upon the allegations that [the magistrate who set the bail amount] reviewed
and what I have, in addition to what I have heard today, court finds that there's
not&nbsp;any reason, compelling reason for me to lower the bond.  I think the safety of the
victim is paramount in this case, based upon the probable cause affidavit, and that's
why [the magistrate] set it at $250,000, so I'm not going to second guess his bond.


We disagree with Rean's characterization of the district court's pronouncement.  While it does
suggest that the district court was primarily concerned with the safety of the victim, that is one of
the statutory factors the district court is required to consider in its decision.  See Tex. Code Crim.
Proc. Ann. art. 17.15(5).  And, as we discuss below, the district court's concern was supported by
the evidence in the record.  However, nothing in the district court's oral pronouncement or anything
else in the record suggests that the district court refused to consider the other statutory factors in
her&nbsp;decision, or that she refused to reduce bail for the "express purpose" of forcing Rean to remain
incarcerated.  See Milner v. State, 263 S.W.3d 146, 149 (Tex. App.--Houston [1st Dist.] 2006,
no&nbsp;pet.); Ex parte Davis, 147 S.W.3d 546, 549 (Tex. App.--Waco 2004, no pet.); Ex parte Milburn,
8 S.W.3d 422, 426 (Tex. App.--Amarillo 1999, no pet.).  To the contrary, as we discuss below, the
record reflects that the district court considered evidence concerning the other statutory factors,
including whether Rean would appear at trial, the nature and circumstances of the charged offense,
and Rean's ability to make bail. 


	Nature of offense 

		The third factor under article 17.15 is the nature of the offense for which the
defendant is charged and the circumstances under which it was committed.  Rean is accused of
sexually assaulting his teenage daughter beginning when she was fourteen years old and continuing
until she was nineteen years old.  Included in the record is the probable-cause affidavit supporting
the arrest warrant.  The affidavit describes in detail the allegations against Rean, including that Rean
"use[d] sex as a form of punishment," forced his daughter to have oral, vaginal, and anal intercourse
with him on multiple occasions, and "threatened to kill [T.R.] if she told anyone."  The affidavit goes
on to describe the following:


[T.R.] then told Affiant that Joey had been abusing her since she was fourteen years
old. . . .


[T.R.] said that when she was sixteen and seventeen she attempted to keep track of
how many times Joey forced her to have sex.  [T.R.] said that she lost track when the
number rose above one-hundred.  [T.R.] said that she was very afraid of Joey because
he threatened to kill her and bury her if she told anyone.


[T.R.] also told Affiant that she has never had sex with any male except for Joey.  In
September of [2008], [T.R.] had a miscarriage.  [T.R.] did not know that she
was&nbsp;pregnant. . . .  [T.R.] also showed Affiant a prescription bottle that belonged
to&nbsp;her.&nbsp;.&nbsp;.&nbsp;.  [T.R.] said that the medication was prescribed because Joey had given
her&nbsp;herpes.



Rean was arrested and indicted based on the above allegations.  The indictment contains
eight&nbsp;counts--three counts alleging sexual assault of a child, a first-degree felony; four counts
alleging indecency with a child by contact, a second-degree felony; and one count alleging indecency
with a child by exposure, a third-degree felony.  See Tex. Penal Code Ann. § 21.11(a)(1), (2), (d)
(West 2003); § 22.011(a)(2), (f) (West Supp. 2008).  Thus, the record reflects that the nature of these
offenses and the alleged circumstances surrounding their commission are very serious.

		When reviewing the appropriate bail for a particular offense, appellate courts often
compare bail amounts in other cases involving offenses of the same degree.  This is because such
offenses carry the same punishment range, which is a proper consideration in determining the nature
of the offense charged.  See Charlesworth, 600 S.W.2d at 317; Ex parte Vasquez, 558 S.W.2d 477,
480 (Tex. Crim. App. 1977); Maldonado, 999 S.W.2d at 95.

		The most serious offense of which Rean stands charged is sexual assault of a child. 
As alleged, the offense is a first-degree felony.  See Tex. Penal Code Ann. §&nbsp;22.011(a)(2),&nbsp;(f).  The
punishment for a first-degree felony is imprisonment for five to 99 years or life, plus a fine not
to&nbsp;exceed $10,000.  Id. § 12.32 (West 2003).  Perhaps reflecting the wide range of punishment,
Texas courts have approved bail amounts as low as $1,000 and as high as $1,000,000 for first-degree
felony offenses.  See, e.g., Ex parte Carson, 215 S.W.3d 921, 924 (Tex. App.--Texarkana 2007,
no&nbsp;pet.) (in case involving first-degree felony offense of possession of controlled substance, setting
bail at $1,000); Gonzalez v. State, 996 S.W.2d 350, 353 (Tex. App.--Houston [14th Dist.] 1999,
no&nbsp;pet.) (in case involving aggravated robbery, approving bail set at $90,000); see also Tran v. State,
No. 01-06-00035-CR, 2006 Tex. App. LEXIS 5658, at *1, 12 (Tex. App.--Houston [1st Dist.]
June&nbsp;29, 2006, no pet.) (not designated for publication) (in case involving drug possession,
approving bail set at $800,000 for cocaine possession and $500,000 for marihuana possession);
Pharris v. State, No. 14-06-00788-CR, 2006 Tex. App. LEXIS 9899, at *1, 6 (Tex. App.--Houston
[14th Dist.] Nov. 16, 2006, pet. ref'd) (per curiam) (not designated for publication) (in case
involving offense of first-degree felony theft, approving bail set at $500,000); Ex parte Cuevas,
No.&nbsp;11-03-00402-CR, 2004 Tex. App. LEXIS 2457, at *1, 15 (Tex. App.--Eastland Mar. 18, 2004,
no pet.) (not designated for publication) (in case involving offense of engaging in organized criminal
activity to commit theft, approving bail set at $1,000,000).  The bail amount set in this case,
$250,000, is within the range of bail amounts approved for other first-degree felonies.

		$250,000 is also comparable to the bail amounts approved in similar cases involving
sex offenses.  See, e.g., Clemons, 220 S.W.3d at 179 (Tex. App.--Eastland 2007, no pet.) (in
case&nbsp;involving two indictments for aggravated sexual assault of child and two indictments for
indecency with child, approving total bail set at $600,000); Ex parte Hulin, 31 S.W.3d 754, 762
(Tex. App.--Houston [1st Dist.] 2000, no pet.) (in case involving offenses of sexual assault and
criminal solicitation of 15-year-old minor, approving total bail set at $150,000); Esquivel v. State,
922 S.W.2d 601, 604 (Tex. App.--San Antonio 1996, no pet.) (in case involving fifteen counts
of&nbsp;sexual offenses involving defendant's sixteen-year-old daughter, approving total bail set
at&nbsp;$150,000); see also Ex parte Bennett, No. 02-07-00175-CR, 2007 Tex. App. LEXIS 8292, at *1,
12 (Tex. App.--Fort Worth Oct. 18, 2007, no pet.) (not designated for publication) (in case
involving three counts of aggravated sexual assault of child, approving bail set at $200,000 for
each&nbsp;count); Billings v. State, No. 11-07-00057-CR, 2007 Tex. App. LEXIS 6340, at *1, 8
(Tex.&nbsp;App.--Eastland Aug. 9, 2007, no pet.) (not designated for publication) (in case involving
aggravated sexual assault of child, approving bail set at $500,000); Ex parte Bratcher, Nos. 05-05-00634-CR &amp; 05-05-00635-CR, 2005 Tex. App. LEXIS 5418, at *1, 14 (Tex. App.--Dallas July 13,
2005, no pet.) (not designated for publication) (in two cases involving offense of aggravated
sexual&nbsp;assault of child, approving bail set at $500,000 for each case); Ex parte Ochoa, Nos. 01-04-00238-CR, 01-04-00239-CR &amp; 01-04-00240-CR, 2004 Tex. App. LEXIS 5817, at *1, 9-10
(Tex.&nbsp;App.--Houston [1st Dist.] July 1, 2004, pet. ref'd) (not designated for publication) (in three
cases involving offense of indecency with child, approving bail set at $100,000 for each case).

		We also observe that the eight counts in the indictment alleged the repeated
commission of the same or similar offenses.  Thus, the State could argue during punishment
that&nbsp;each offense arose out of the same criminal episode, and any sentences Rean might receive
could&nbsp;be ordered to run consecutively.  See Tex. Penal Code Ann. § 3.03(b)(2) (West Supp. 2008). 
Accordingly, if convicted, Rean could receive a very lengthy sentence.  See Clemons, 220 S.W.3d
at 179.  The State also introduced testimony from a police officer that "it's common knowledge
within the law enforcement community" that inmates in Texas prisons tend to target other inmates
who have been convicted of child sex offenses or who are former law enforcement officers.  The
State argued that Rean, as a DPS Trooper, was likely aware of this fact, making him more of a
flight&nbsp;risk.

		Finally, in determining the nature of the offense, the familial relationship between the
defendant and the victim is also relevant.  As the San Antonio Court of Appeals has previously
explained when approving a comparable bail amount in a similar case,


The offenses charged in this case--incest, sexual assault of a child, and indecency
with a child by exposure and contact--are extremely repugnant.  Considering that
the&nbsp;accused is the natural father of the victim, a greater sense of helplessness and
overreaching by a person in authority cannot be imagined.  A child has a right to look
to her parents for support and guidance when there are no others.  Such behavior, if
true, not only is an affront to a civilized society, but to any primitive tribe of people
as well.



Esquivel, 922 S.W.2d at 603.



      	Ability to make bail

		The ability of an accused to post bail is a factor to be considered, but the
inability&nbsp;to&nbsp;make the bail set by the trial court does not automatically render the bail excessive.  See
Ex parte Vance, 608 S.W.2d 681, 683 (Tex. Crim. App. 1980); Maldonado, 999 S.W.2d at 96.  This
is true even if the accused is determined to be indigent.  Charlesworth, 600 S.W.2d at 317.  If the
ability to make bail in a specified amount controlled, the role of the trial court in setting bail
would&nbsp;be unnecessary and the accused would be able to set his own bail.  Ex parte Hunt, 138 S.W.3d
at 506.

		Rean presented some evidence that he could not afford to post bail.  Although
Rean&nbsp;did not testify at the hearing, his ex-wife, Gloria Rean, did.  Gloria testified that Rean, a
DPS&nbsp;Trooper, had been "suspended with pay" pending the outcome of the case.  According to Gloria,
Rean is paid approximately $2,400 per month.  When asked if Rean was financially able to post bail
in the amount of $250,000, Gloria testified, "No, he's not."  However, Rean provided no evidence
about his monthly expenses, any money he currently has in his checking account, or any savings
accounts he might be able to access.  Furthermore, there was evidence presented that Rean had part-time jobs in addition to his employment as a DPS Trooper, including, according to Gloria, "his own
business" selling "security items."  However, no testimony was elicited about how much income
Rean received from these other jobs.

		Gloria also testified that she was trying to post bail on Rean's behalf.  She had
contacted a bail bondsman but was not successful in negotiating an agreement for the bondsman to
post bail at the current amount.  Furthermore, Gloria had just been "laid off" by her employer, and
she had only $9,000 in cash available, $7,000 of which was a loan from a friend.  However, Gloria
testified that if bail was lowered to $50,000, she would be able to afford the $5,000 required to
obtain Rean's release. (2)  When asked if paying $9,000 in cash would be a burden on her and her
family, Gloria testified, "Yes."  Gloria added, "Because it's all the money we have, and I didn't get
paid for December, or may not get paid for January 15th, and I'm using part of the money that [Rean]
just got paid to help bail him out."


	Future safety of the victim and the community 

		The final statutory factor examines the safety of the victim and the community if the
defendant were to be released on bail.  See Tex. Code Crim. Proc. Ann. art. 17.15(5).  The victim
in this case is T.R., Rean's daughter who was nineteen years old at the time of the hearing. 
According to the probable-cause affidavit, Rean threatened "to kill her and bury her if she told
anyone" about what he did.

		There is also other evidence in the record about Rean's alleged propensity for threats,
violence, and abuse.  The lead officer in the criminal investigation, Detective Craig Smith of the
Travis County Sheriff's Office, was asked about whether Rean's current wife, Sonia Rean, told him
about a threat that Rean had made to her.  Smith testified, "She told me that just after they were
married, that Joey told her that now that they were married, the only way she could get out of the
relationship was if he was burying her six feet under in the backyard."  Smith was also asked about
statements Gloria had made to him concerning Rean's behavior toward her older daughter from her
first marriage.  Smith testified that Gloria told him that, when her daughter was fourteen years old,
"she was getting a massage from Joey, that he was rubbing her legs, she fell asleep and when she
woke up she was nude and didn't know what had happened."  Smith also testified that Gloria had
told him that sleeping pills may have been involved in the incident.

		Gloria also has a younger daughter who was thirteen years old at the time of the
hearing.  Smith testified that Gloria had told him that she did not believe that Rean had done
anything to this child, "but she told me she was going to take her to the doctor to be checked, just
to be sure."  Smith also testified that Gloria had told him that she was afraid of Rean:


She told me that she had spoken with Joey and that he had told her that he was
looking for a gun and she said that he sounded that he was suicidal and she was afraid
of him and so she was staying at her boss's house where it was safe.



		The State also presented evidence that Rean owned at least three or four firearms that
Gloria had taken from either Rean's apartment or his truck after he was arrested.  Gloria explained
that she was trying to sell these firearms in order to raise money to post bail.  Gloria testified that
these weapons included a revolver and two rifles.  According to Gloria, she had sold the revolver,
but the rifles remained in her possession.  Gloria also testified that she owned a 12-gauge shotgun. 
The State argued that, if Rean was released, he might be able to gain access to these or other firearms
through Gloria or Homer Palomino, Rean's friend who had loaned Gloria $7,000 to post bail.

		Based on the above evidence, the district court could have found that Rean was
a&nbsp;danger to both the victim and the community, and the $250,000 bail was necessary to ensure
their&nbsp;safety.  Rean argues, however, that the safety of the victim and the community was already
ensured by bond conditions that the magistrate had imposed, including requirements that Rean have
no&nbsp;communication with the complaining witness, no possession of firearms, and that he have a
curfew and be monitored via GPS.  Rean further argues that, by failing to reduce the bail amount,
the district court violated the statute that authorizes a magistrate to "impose any reasonable condition
of bond related to the safety of a victim of the alleged offense or to the safety of the community." 
See Tex. Code Crim. Proc. Ann. art. 17.40(a) (West Supp. 2008).  However, Rean overlooks the fact
that it was the magistrate, not the district court, that set bail at $250,000.  It was the magistrate that
apparently believed both the $250,000 bail and the bond conditions were necessary to ensure
the&nbsp;safety of the victim and the community.  The district court, after considering all of the evidence
presented at the hearing, simply agreed with the magistrate's decision, and, on this record, we cannot
conclude that the district court abused its discretion by doing so. 


Other factors 

		There is some evidence in the record about Rean's work history.  Gloria testified
that,&nbsp;when she met Rean in 1994, he was serving in the military.  When Rean and Gloria were
married in 1998, Rean was still in the military.  Later, Gloria testified, Rean "went [on] to be a
state&nbsp;trooper and National Guard."  He is currently a DPS Trooper.

		As for family, community, and other ties to the area, Rean currently resides in
Pflugerville, although the record does not indicate how long he has lived there.  Gloria testified that,
prior to moving to Pflugerville, Rean resided in Garland, a suburb of Dallas.  Gloria was born and
raised in El Paso and has also lived in Rockwell and Terrell, Texas.  She has lived in the north Texas
area since 1997 and currently resides in Dallas.  In addition to his connection to the Dallas area, Rean
also has a tie to California.  Homer Palomino, Rean's friend who loaned Gloria $7,000 to post bail
for Rean, resides in San Diego.

		The remaining factors are not implicated in this case.  Rean has no prior criminal
history, and there is nothing in the record concerning Rean's conformity with previous bond
conditions or the existence of other outstanding bonds. 


CONCLUSION

		On the above record, we cannot conclude that the district court abused its discretion
in denying Rean's request to reduce bail.  Although there is some evidence in the record that Rean
cannot afford the current bail amount, this evidence does not establish, in Rean's words, his "obvious
indigency."  According to his ex-wife, at the time of the hearing, Rean was "suspended with pay," 
still employed as a DPS Trooper and receiving approximately $2,400 per month.  And, there was
no&nbsp;testimony about how much money Rean may have had in checking or savings accounts. 
However, even assuming that Rean could not afford bail, this factor is not controlling.  See Hunt,
138 S.W.3d at 506.

		The other factors weigh in favor of the district court's decision.  The record does
not&nbsp;reflect that the district court refused to reduce bail for the "express purpose" of forcing Rean
to&nbsp;remain incarcerated.  Although Rean has a fairly stable work record and no prior criminal history,
the offenses of which he stands charged and the alleged circumstances surrounding their commission
are very serious.  The bail amount is within the range Texas courts have approved for first-degree
felonies and is comparable to the bail amounts approved in similar cases involving sex offenses. 
There was evidence presented that Rean was a continuing danger to both the victim and the
community.  Finally, the State presented evidence from which the district court could have
reasonably inferred that Rean was a flight risk.  If convicted, Rean could face a very lengthy
sentence&nbsp;and be "targeted" by other inmates.  Plus, Rean had connections to both the Dallas area and
California but few ties to the Austin area.

		On this record, we conclude that Rean has failed to satisfy his burden to prove that
bail in this case was excessive, i.e., that it was "set in an amount greater than is reasonably necessary
to satisfy the government's legitimate interests."  Beard, 92 S.W.3d at 573.  We overrule Rean's
sole&nbsp;issue on appeal.

		We affirm the order of the district court.



						__________________________________________

						Bob Pemberton, Justice

Before Justices Patterson, Puryear and Pemberton

Affirmed

Filed:   August 26, 2009

Do Not Publish
1.   For example, in Ludwig, the defendant had a child-custody proceeding pending which
would require his presence in the jurisdiction, and he had several close relatives who were long-time
Texas citizens and were willing to sign a bond ensuring his appearance at trial.  See Ludwig v. State,
812 S.W.2d 323, 324 (Tex. Crim. App. 1991).  In Ivey, the defendant was a lifetime resident of the
city in which he was being tried, had a family and owned a house in that city, and both his parents
and his wife's parents were from that city.  Ex parte Ivey, 594 S.W.2d 98, 100 (Tex. Crim. App.
1980).  In Vasquez, it was undisputed that the defendant was indigent, and, although there was little
evidence presented concerning the circumstances surrounding the offense, it appeared that the
defendant was, at most, responsible as a party to the offense.  Ex parte Vasquez, 558 S.W.2d 477,
479-80 (Tex. Crim. App. 1977).  The other cases cited by Rean are similarly distinguishable from
the facts of this case.
2.   A bail bondsman typically charges 10% of the total bail amount and requires "substantial
collateral" before agreeing to post the bail.  See Ex parte Sabur-Smith, 73 S.W.3d 436, 440
(Tex.&nbsp;App.--Houston [1st Dist.] 2002, no pet.).


